                   Case 22-12472         Doc 48   Filed 06/16/23    Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

In re:                                            :
                                                  :
VIRGILIO H. ARTIGA,                               :   Case No. 22-1-2472-LSS
                                                  :   Chapter 13
                               Debtor.            :
                                                  :

                         TRUSTEE’S OBJECTION TO DEBTOR’S
                         CHAPTER 13 PLAN DATED MAY 4, 2023
                     _____________________________________________

         Timothy P. Branigan, Chapter 13 trustee in the above-captioned case (“Trustee”), pursuant

to section 1325 of the Bankruptcy Code and Bankruptcy Rule 3015(f) objects to confirmation of

the Debtor’s Chapter 13 plan dated May 4, 2023 (the “Plan”). In support of his opposition, the

Trustee respectfully represents the following:

         1.     The Debtor commenced this case under Chapter 7 on May 8, 2022 and converted

to a Chapter 13 on April 19, 2023. The Plan proposes to pay $30.00 monthly for 36 months for a

gross funding of $1,080.00.

         2.     The Debtor has failed to make the payments proposed under the Plan. At this time,

one payment is due in the total amount of $30.00. The Trustee has received $0.00. Accordingly,

the Debtor has not demonstrated that the Plan is feasible, and the Plan does not satisfy the

requirement of section 1325(a)(6) of the Bankruptcy Code.

         3.     The Debtor has failed to provide documentation supporting income listed on

Schedule I of $4,110.73 per month for all income listed on Schedule I as requested by the Trustee

at the meeting of creditors. Accordingly, the Trustee cannot determine whether the Plan is feasible.

The Plan does not satisfy the requirements of section 1325(a)(6) of the Bankruptcy Code. At this
                  Case 22-12472        Doc 48     Filed 06/16/23     Page 2 of 3




time, the Debtor has failed to fully cooperate with the Trustee as required under section 521(a)(3)

of the Bankruptcy Code.

        4.     The Debtor has failed to provide the ID Affidavit, Domestic Support Obligation

Affidavit, and bank statements as of the petition date as requested by the Trustee. At this time, the

Debtor has failed to fully cooperate with the Trustee as required under section 521(a)(3) of the

Bankruptcy Code.

        5.     The Debtor has non-exempt equity of at least $9,669.00 in real property. The Plan

does not satisfy the requirements of section 1325(a)(4) of the Bankruptcy Code.

        6.     The Debtor has not adequately proved ownership and the market value of scheduled

real property. The Plan does not satisfy the requirements of section 1325(a)(4) of the Bankruptcy

Code.

        7.     The Debtor has not provided and/or filed all applicable federal, state, and local tax

returns as required by section 1308. Accordingly, the Debtor has not satisfied the requirements of

section 1325(a)(9) of the Bankruptcy Code.

        8.     The Plan fails to provide that all of the Debtor’s projected disposable income

reflected on schedule J will be applied to make payments to the unsecured creditors under the Plan.

        9.     The Plan must be amended to include surrender dates in section 4.6.4 of the Plan.

        10.    Accordingly, the Plan should not be confirmed.




                                                -2-
                  Case 22-12472       Doc 48     Filed 06/16/23    Page 3 of 3




PLEASE TAKE NOTICE THAT THIS OBJECTION MUST BE RESOLVED AT LEAST 2

BUSINESS DAYS PRIOR TO THE CONFIRMATION HEARING. AFTER THAT TIME, THE

TRUSTEE MAY DECLINE TO ACCEPT MATERIALS THAT HE HAS REQUESTED FROM

THE DEBTORS.        THE TRUSTEE MAY DECLINE TO DISCUSS THE CASE AT THE

CONFIRMATION HEARING.                 THE DEBTORS SHOULD EXPECT THAT ANY

UNRESOLVED OBJECTION WILL BE HEARD BY THE COURT.

                                                     Respectfully submitted,


June 15, 2023                                        /s/ Timothy P. Branigan
                                                     Timothy P. Branigan (Fed. Bar No. 06295)
                                                     Chapter 13 Trustee
                                                     9891 Broken Land Parkway, #301
                                                     Columbia, Maryland 21046
                                                     (410) 290-9120

                                      Certificate of Service

       I hereby certify that the following persons are to be served electronically via the CM/ECF
system:

Maurice B. VerStandig, Esquire

I caused a copy of the pleading above to be sent on June 16, 2023 by first-class U.S. mail, postage
prepaid to:

Virgilio H. Artiga
6419 Woodland Road
Suitland, MD 20746

                                                 /s/ Timothy P. Branigan
                                                 Timothy P. Branigan (Fed. Bar No. 06295)




                                               -3-
